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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                      LONDON

                                              )
 UNITED STATES OF AMERICA,                    )
                                              )      No. 6:11-CR-16-GFVT-HAI-1
        Plaintiff,                            )
                                              )
 v.                                           )
                                              )    RECOMMENDED DISPOSITION
 CHRISTOPHER LEE CARTER,                      )
                                              )
        Defendant.                            )
                                      *** *** *** ***

       The Court, on referral (D.E. 197), considers reported violations of supervised release

conditions by Defendant Christopher Lee Carter.       District Judge Van Tatenhove entered a

judgment against Defendant on September 19, 2011, for aiding and abetting his co-defendants

(and vice versa) to willfully and knowingly steal and purloin various property belonging to the

United States Department of Agriculture Forest Service, the total value of which exceeded

$1,000.00. D.E. 99. The Judgment included 24 months of imprisonment and a three-year term

of supervised release to follow. Id. at 3–4. Defendant’s term of supervised release began on

October 16, 2012.

       On December 26, 2013, the United States Probation Office (“USPO”) issued a

Supervised Release Violation report (“the Report”) charging Defendant with three violations,

and then secured a warrant from District Judge Van Tatenhove on January 2, 2014. D.E. 194.

The Report alleges that Defendant violated the condition of his supervised release that he “not

commit another federal, state, or local crime” in two separate instances. It further alleges that

Defendant violated Standard Condition No. 11, which states “[t]he defendant shall notify the
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probation officer within seventy-two hours of being arrested or questioned by a law enforcement

officer.”

        Specifically, as to Violation #1, the Report states that, on October 26, 2013, Defendant

was arrested pursuant to a warrant issued by the Laurel County District Court and charged with

Theft by Unlawful Taking Over $500 but Under $10,000 pursuant to KRS §514.030(2)(d), a

class D felony. The charge was amended to Theft by Unlawful Taking Under $500, a class A

misdemeanor, upon Defendant’s guilty plea. He was sentenced to 360 days of incarceration with

180 days conditionally discharged for two years. At the time of the Report, Defendant was

serving the 180 days that were not conditionally discharged.

        The Report further states, as to Violation #2, that on November 15, 2013, Defendant was

again arrested pursuant to a warrant issued by the Laurel County District Court and charged with

Receiving Stolen Property Under $10,000 pursuant to KRS § 514.110(1) and (3)(a), a class D

felony. At the time of the issuance of the Report, the charge was scheduled to be presented to

the Laurel County Grand Jury. On January 21, 2014, the USPO issued a Supervised Release

Violation Report Addendum (“the Addendum”) stating that on January 17, 2014, no true bill was

returned by the Laurel County Grand Jury as to the charge and thus it was dismissed completely.

The Addendum further relayed that the dismissal of the charge had altered Defendant’s U.S.

Sentencing Guidelines range in this action by effectively eliminating the Grade B violation

charged in Violation #2, leaving a Grade C violation as the most serious charged. Violation #3 is

based on Defendant’s failure to report both the October 26, 2013 and November 15, 2013 arrests

to the USPO.

        The Court conducted an initial appearance pursuant to Rule 32.1 on January 21, 2014,

and set a final hearing following Defendant’s knowing, voluntary, and intelligent waiver of his

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right to a preliminary hearing. D.E. 195. At that time, the United States made an oral motion for

interim detention, to which Defendant did not object. Id. Based on the heavy burden on

Defendant under 18 U.S.C § 3143(a), the Court found that detention was required. Id.

       At the final hearing on January 28, 2014, Defendant was afforded all rights due under

Rule 32.1 and 18 U.S.C. § 3583. D.E. 199. At the outset of the hearing, the United States

moved to dismiss Violation #2 based on the information contained in the Addendum (Id.), and

relayed to the Court that the parties had agreed to a proposed sentence of nine months of

incarceration, and 27 months of supervised release to follow, premised upon Defendant’s

stipulation to Violations #1 and 3. Defendant stipulated to both remaining violations, and

admitted the factual basis for both violations, as described in the Report. Id.

       The Court has evaluated the entire record, including the Supervised Release Violation

Report and accompanying documents, the Addendum, the underlying Judgment in this matter,

and Defendant’s pre-sentence investigation report. Additionally, the Court has considered all of

the 18 U.S.C. § 3553 factors imported into the 18 U.S.C. § 3583(e) analysis. Under 18 U.S.C. §

3583(e)(3), a defendant’s maximum penalty for a supervised release violation hinges on the

gravity of the underlying offense of conviction. Defendant’s conviction pursuant to 18 U.S.C. §§

2 and 641, is a Class C felony. See 18 U.S.C. § 2, 18 U.S.C. § 641, 18 U.S.C. § 3559. For a

Class C felony, the maximum revocation sentence provided under 18 U.S.C. § 3583 is two years

of imprisonment. See 18 U.S.C. § 3583(e)(3). The Policy Statements in Chapter 7 of the

Guidelines provide advisory imprisonment ranges for revocation premised on criminal history (at

the time of original sentencing) and the “grade” of the particular violation proven. See United

States v. Perez-Arellano, 212 F. App’x 436, 438–39 (6th Cir. 2007) (“Although the policy

statements found in Chapter Seven of the United States Sentencing Guidelines recommend

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ranges of imprisonment, U.S.S.G. § 7B1.4, such statements ‘are merely advisory’ and need only

be considered by the district court before sentence is imposed.”) (citation omitted).

           Under U.S. Sentencing Guidelines Manual § 7B1.1, Defendant’s admitted conduct

qualifies as a Grade C violation with respect to both Violations #1 and 3. Given Defendant’s

criminal history category of III (the category at the time of the conviction in this District) and a

Grade C violation, Defendant’s range, under the Revocation Table of Chapter 7, is 5–11 months.

Both parties agreed to this calculation of the range.

           The Court has considered all of the 18 U.S.C. § 3553 factors imported into the 18 U.S.C.

§ 3583(e) analysis, and finds that imprisonment of nine months is appropriate based upon those

factors.

           Defendant’s original conviction in this case was for theft. The admitted violation is also

for theft. It troubles the Court that after two years of federal imprisonment, Defendant has

returned to committing the same type of crime for which he was originally incarcerated.

           Defendant’s history and characteristics only exacerbate this concern.        Defendant’s

criminal history reflects a pattern of behavior beginning in 2008. Defendant was convicted in

2008 of possession of a controlled substance and paraphernalia as well as two counts of theft. In

2010, Defendant was charged with burglary and theft, and in 2011, he was charged with

receiving stolen property. The thefts leading to the issuance of the Report are not isolated

incidents; they reflect a pattern of criminal behavior on the part of Defendant.

           The need to deter criminal conduct and protect the public is the driving factor in the

Court’s analysis. As noted above, Defendant’s criminal history is one in which theft plays a

large role.      Two years of federal incarceration seems to have had little or no effect on

Defendant’s decision-making when it comes to taking property to which he has no right.

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Defendant’s original sentence of two years was the result of generosity and hope on the part of

the Court; his Guidelines range was 30 –37 months, well above the 24 months he received.

Instead of justifying the break given to him at sentencing, Defendant has violated his supervised

release by committing a similar crime to that for which he was convicted. Because Defendant

did get a break at sentencing as to the original conviction, the Court finds that it is appropriate to

sentence Defendant above the middle of his Guidelines range upon revocation.

       The need to provide Defendant with education, training, or treatment is not a strong

factor in the Court’s analysis. There is no indication that education, training, or treatment is

warranted in this case at this time.

       A significant factor in this case is the breach of trust committed by Defendant. The

Guidelines suggest that the primary wrong in the supervised release context is violation of the

Court’s trust by an offender; the particular conduct is an important but secondary issue. See U.S.

Sentencing Guidelines Manual 7 Pt. A(3)(b) (“[A]t revocation the court should sanction

primarily the defendant’s breach of trust, while taking into account, to a limited degree, the

seriousness of the underlying violation and the criminal history of the violator.”). The nature of

supervised release includes trust placed in Defendant to strictly adhere to the conditions of his

release, but Defendant has breached that trust. A significant term of imprisonment is warranted

to address this breach. The Court finds that revocation and a term of incarceration of nine

months followed by 27 months of supervised release will adequately address the seriousness of

Defendant’s conduct.

       The Court must also consider the need to avoid unwarranted disparities in sentencing

among similarly situated Defendants.        A term of nine months of incarceration is within



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Defendant’s U.S. Sentencing Guidelines range, which serves to avoid unwarranted sentencing

disparities.

        A court also may reimpose supervised release, following revocation, for a maximum

period that usually subtracts any term of incarceration actually imposed due to the violation. See

18 U.S.C. § 3583(b) & (h). The post-revocation cap depends on the “term of supervised release

authorized by statute for the offense that resulted in the original term of supervised release.” See

18 U.S.C. § 3583(h). The general supervision-term limits of § 3583(b) apply “[e]xcept as

otherwise provided.” See id. § 3583(b). Defendant’s conviction under 18 U.S.C. §§ 2 and 621

carried a maximum supervised release term of three years. Under section 3583(h), the maximum

at this point is therefore three years “less any term of imprisonment . . . imposed upon revocation

of supervised release.” 18 U.S.C. § 3583(h). If this Recommended Disposition is adopted by

District Judge Van Tatenhove, Defendant will serve nine months of incarceration, yielding a

post-revocation cap of 27 months.       The Court recommends that a term of 27 months of

supervised release be imposed following revocation because Defendant has shown that he can be

successful on supervised release for a significant length of time, and so should be able to repeat

his compliance with the help and guidance of the USPO. The Court is also hopeful that

Defendant’s term of nine months of incarceration, which must necessarily run consecutively to

his state court term of six months of incarceration (U.S. Sentencing Guidelines Manual §

7B1.3(f)), will encourage him to take the conditions of his supervised release seriously.

        Based on the foregoing, the Court RECOMMENDS revocation and imprisonment for a

term of nine months based on the violations found, with a 27-month term of supervised release

under the conditions previously imposed to follow. The Court further RECOMMENDS that

charged Violation #2 in the Report be DISMISSED.

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        The Court directs the parties to 28 U.S.C. § 636(b)(1) for appeal rights concerning this

recommendation, issued under subsection (B) of the statute. See also 18 U.S.C. § 3401(i). As

defined by § 636(b)(1), within fourteen days after being served with a copy of this recommended

decision, any party may serve and file written objections to any or all portions for consideration,

de novo, by the District Court. Failure to make timely objection consistent with the statute and

rule may, and normally will, result in waiver of further appeal to or review by the District Court

and Court of Appeals. See United States v. Walters, 638 F.2d 947, 950 (6th Cir. 1981); Thomas

v. Arn, 474 U.S. 140 (1985).

       This the 30th day of January, 2014.




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